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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE



    In re:                                                     Chapter 11

    TOUGH MUDDER, INC., et al.                                  Case No. 20-10036 (CSS)
                       Debtors.2
                                                                (Jointly Administered)

                                                                Re: D.I. 30

                                     CERTIFICATE OF SERVICE

       I hereby certify that on February 20, 2020, I electronically filed the foregoing with the
Clerk of the Court via the Case Management/Electronic Case Filing (CM/ECF) system, and a
Notice of Electronic Filing was sent to all parties registered with the CM/ECF system to receive
notices via electronic mail. I further certify that on February 20, 2020, I served copies of the
foregoing on the following parties by electronic mail:

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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Tough Mudder Inc. (2576) and Tough Mudder Event Production Inc. (6845). The Debtors’ address is 15
MetroTech Center, Brooklyn, NY 12201.
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                                                  /s/ Joseph J. McMahon, Jr.
                                                  Joseph J. McMahon, Jr. (No. 4819)
